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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ROCHELLE GARZA, as guardian ad litem to   )
unaccompanied minor J.D., on behalf of    )
herself and others similarly situated;    )
JANE ROE on behalf of herself and others  )
similarly situated; and JANE POE          )
                                          )
                  Plaintiffs,             )                   No. 17-cv-02122-TSC
                                          )
v.                                        )
                                          )
ERIC D. HARGAN, et al.,                   )
                                          )
                  Defendants.             )
                                          )
_________________________________________ )

                               RESPONSE TO COURT ORDER

       Because no immediate ruling by this Court is necessary with respect to Ms. Poe, we

respectfully seek additional time to address possible privilege issues with respect to the decision

document.

       First, the document in question is a decision document relating to Ms. Poe.               The

government did not seek an immediate stay of the injunction with respect to Ms. Poe, and the

injunction is in effect with respect to Ms. Poe. That aspect of the injunction will soon be moot

when Ms. Poe obtains an abortion pursuant to this Court’s order. Accordingly, there is no sound

litigation reason in this litigation to immediately release the document. Plaintiffs’ only proffered

reason is that “the document provides important background regarding the ORR policy.” Mot. 2.

Far from providing general background on any supposed policy, the document explains why the

ORR Director determined that Ms. Poe should not receive an abortion. That determination is no

longer at issue in this litigation, because Ms. Poe’s individual claim for injunctive relief will soon

become moot.

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       Second, new information about the age of Jane Roe – that she is in fact 19 years old – has

come to light that will likely make the government’s appeal and motion moot imminently, given

her imminent transfer to DHS custody. See Garza, Millett Dissent at 5 (aliens in DHS custody

“are . . . able to obtain an abortion”). Although the document pertains only to Ms. Poe, Plaintiffs

cannot plausibly contend that the document is relevant to litigation with respect to Ms. Roe,

because her transfer to DHS custody will moot what remains of her request for injunctive relief as

well. At a minimum, these developments obviate the need for an immediate ruling with respect to

the document.

       Third, we are reviewing the document for possible privilege. Parts of the document are

predecisional and deliberative. See Wood v. FBI, 432 F.3d 78, 84 (2d Cir. 2005). The document

was produced to this Court under seal on a very tight timeframe to comply with this Court’s order

to produce the document under seal, and we think that under the circumstances, the government

should be given an opportunity to address the possible applicability of the deliberative process

privilege to portions of it. Cf. Fed. R. Ev. 502(b). The document is also not relevant to the core

issue presented by the government in these matters, which is that given the ability to request

voluntary departure to the country of nationality or to identify a suitable sponsor, the government

does not impose an undue burden when it declines to facilitate an abortion by a person who has

been recently entered into the United States unlawfully.

       For these reasons, and because there is no longer an exigent situation with respect to Ms.

Poe or Ms. Roe, we respectfully request additional time to assess privilege claims and assert

privilege over the portions of the document that are deliberative. If the Court rejects this request,

we agree that the court can file the document on the public record with the redactions made by

Plaintiff without disclosing personal privacy information relating to Ms. Poe.



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DATED: December 19, 2017                   Respectfully submitted,

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